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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE M IDDLE DISTRICT OF ALABAM A
                                NORTHERN DIVISION

ERVIN HOLLOWAY                                   )
                                                 )
       v.                                         )            CR NO. 2:98cr69
                                                 )                  WO
UNITED STATES OF AM ERICA                        )

                                            O RD ER

       Upon review of the file in this case, and for good cause, it is

       ORDERED that the order entered on July 19, 2005 (Doc. #495) – in which this court

(1) construed defendant Ervin Holloway’s “Leave of Stay of Proceedings until N ot ice”

(Doc. #494) as a motion for ext ens ion of time to file objections to the Supplemental

Recommendation of the M agistrate Judge entered on June 23, 2005 (Doc. #494), and (2)

granted Holloway an extension from July 6, 2005, to and including A ugus t 2, 2005, to file

his objections – be and is hereby VACATED.

       D efendant Holloway is advised, as stated in a separate order of this court entered

on July 19, 2005 (Doc. #496), that upon his promptly advising this court of his receipt of

the Supplemental Recommendation of the M agistrate Judge, this court will enter an order

setting a new time within which his objections may be filed.

       DONE, this 20th day of July, 2005.


                                              /s/ Susan Russ Walker
                                              SUSAN RUSS WALKER
                                              UNITED STATES M AGISTRATE JUDGE
